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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY
MOUNTAIN VALLEY PIPELINE, LLC,

Plaintiff,
V. CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF

Defendants.

DEFENDANTS’ RENEWED REQUEST FOR EXPEDITED CONSIDERATION
OF MOTION TO AMEND SCHEDULING ORDER

Now come Defendants Rose Abramoff and Melinda Tuhus, by counsel, and
respectfully renew their initial respect for expedited consideration of their December 4,
2024 Motion to Amend Scheduling Order (Dkt. 95). In support, Defendants state the
following:

1. MVP has had more than a reasonable period of time to express its opposition,
if any, to this Motion. Counsel first reached out to MVP on Wednesday, November 27,
2024 — sixteen days ago, and one week before Defendants filed their Motion — in an
attempt to obtain its position. MVP had indicated no position supporting or opposing
the Motion at the time of filing, and as of this morning has not subsequently clarified
its position to counsel or the Court.

2. The discovery cutoff is presently set for this Monday, December 16, 2024, the
date upon which Defendants’ 30(b)(6) deposition is presently set. Given Defendant
Abramoff’s continuing efforts to retain substitute counsel, counsel respectfully submits
that modification is prudent, reasonable, and appropriate to avoid any prejudice to
Defendant Abramoff and ensure that she can have counsel of choice at this crucial
stage of litigation.

3. Furthermore, just yesterday, on Thursday, December 12, MVP filed a Motion
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for Protective Order with respect to the upcoming deposition. An extension to the
Scheduling Order is independently warranted in order to avoid requiring the parties
and the Court to litigate this Motion on an extremely expedited basis.

WHEREFORE, for the foregoing reasons, Defendants renew their previous
request for expedited consideration of their Motion to Amend Scheduling Order and

move that amendment be granted as stated in the previously-filed proposed Order.

Respectfully submitted,

MELINDA ANN TUHUS and
ROSE ZHENG ABRAMOFF

By Counsel

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,
Plaintiff,

V. CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF
Defendants.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading was filed electronically with

the Clerk of the Court, this 13th day of December, 2024, and thereby served on Counsel
for the Plaintiff as follows:

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Matthew S. Casto (WVSB #8174)
Robert M. Stonestreet (WVSB # 9370)
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/s/William V. DePaulo
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